                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF ALASKA


JUSTINE RICHARDSON,                    )
                                       )
                      Plaintiff,       )
                                       )
                 v.                    )
                                       )
STATE OF ALASKA; STATE OF ALASKA ) Case No. 3:17-cv-00022-TMB
DEPARTMENT OF CORRECTIONS; CITY )
OF KODIAK; KODIAK POLICE               )
DEPARTMENT; OFFICER JEWELL             )
TORREJAS, DETECTIVE MICHAEL            )
SORTOR, KODIAK POLICE DEPARTMENT )
CHIEF OF POLICE RHONDA WALLACE, )
JOHN DOES 1-10;                        )
                                       )
                      Defendants.      )
______________________________________ )

                        ORDER GRANTING
            STIPULATION FOR DISMISSAL WITH PREJUDICE

      IT IS HEREBY ORDERED that the matter in the above-captioned action is

hereby dismissed with prejudice.



Dated: November 14, 2019.           /s/ Timothy M. Burgess
                                    HONORABLE TIMOTHY M. BURGESS
                                    UNITED STATES DISTRICT JUDGE




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